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                              UNITED STATES DISTRICT COURT
 1
 2                         SOUTHERN DISTRICT OF CALIFORNIA

 3    UNITED STATES OF AMERICA,                      Case No.:    '21 MJ4878
 4
                                  Plaintiff,         COMPLAINT FOR VIOLATION OF
 5          V

 6                                                   Title 18 U.S.C. § 11 l(a)(l)
 7    Mark KASIANCHUK,                               Assaulting, Resisting, or Impeding
                                   Defendant.
                                                     Federal Officers
 8                                                   (Felony)
     11-------------------'

 9
10         The undersigned complainant being duly sworn states:

11         On or about December 12, 2021, within the Southern District of California, Mark
12
     KASIANCHUK intentionally and forcibly assaulted a person designated in Title 18, United
13
14 States Code, Section 1114, to wit: Department ofHomeland Security, United States Customs

l 5 and Border Protection Officer Cesar Nungaray, such acts involving physical contact, in that
16
     Mark KASIANCHUK failed to stop for CBP inspection and struck CBPO Nungaray's hand
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18 with a moving vehicle, while CBPO Nungaray was engaged in the performance of his

19 official duties; in violation of Title 18, United States Code, Section 11 l(a)(l), a felony.
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21                                                ~                       ----- -·-

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23                                                 Special Agent David Steiman
24                                                 Homeland Security Investigations

25       Sworn and attested to under oath by telephone, in accordance with Federal Rule o
26 Criminal Procedure 4.1, this 13th day of December 2021.

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                                                   HON. BARBARA ~MAJOR
                                                   U .S. MAGISTRATE JUDGE
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     1                                      STATEMENT OF FACTS
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     3           On December 12, 2021, at approximately 12:45 am, Mark KASIANCHUK, a
     4
          Ukraine citizen, entered the United States at the San Ysidro, California, Port of Entry
     5
         vehicle primary lanes. Also in the vehicle was Ivan ILCHUK, a Ukraine citizen, Dalerjon
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     7   RAJABOV, a Tajikistan citizen, Akhror SAIDOV, a Tajikistan citizen, Makhbuba
     8
         KAKHOROVA, a Tajikistan citizen, and M.S. (a juvenile), a Tajikistan citizen.
    9
                While assigned to pre-primary inspection lanes, U.S. Customs and Border
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11       Protection (CBP) Officer witnessed KASIANCHUK. approach the entrance to the pre-
12
         primary inspection area and attempted to enter the United States from Mexico.
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                The CBP Officer saw KASIANCHUK show a blue card through the window of the
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15       vehicle that he was driving. KASIANCHUK then quickly pulled the card out of view. The
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         CBP Officer motioned for KASIANCHUK to show the card again. KASIANCHUK did
17
         not comply.
18

19              The CBP Officer approached the vehicle to make verbal contact with
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    o KASIANCHUK. KASIANCHUK -accelerated the vehicle forward. The driver's side
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22
         mirror of the vehicle struck the CBP Officer in the -left hand. The CBP Officer sustained

23       injuries to his left hand and wrist.
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 1         KASIANCHUK was arrested and charged with violation(s) of Title 18 USC
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     11 l(a)(l), Assault on a Federal Officer.
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